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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


  TREY GREENE, individually and on behalf of Case No.: 2:23-cv-01165
  all others similarly situated,
                                 Plaintiff,  MEMORANDUM OF LAW IN
          v.                                 SUPPORT OF MOTION FOR
                                             APPOINTMENT OF LEAD
  ZAC PRINCE, FLORI MARQUEZ, TONY            PLAINTIFF AND APPROVAL OF
  LAURA, JENNIFER HILL and GEMINI            SELECTION OF LEAD COUNSEL
  TRADING, LLC,                              PURSUANT TO PSLRA 15 U.S.C. §78u-
                                             4(a)(3)(8)
                                 Defendants.


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Dated: April 30, 2023
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       Movants Trey Greene (“Greene”) and Arman Reyes (“Reyes”)(collectively “Movants” or

the “Group”), respectfully submits this memorandum of law in support of their motion for an Order:

(1) appointing Movants as Co-Lead Plaintiffs as a Group or as an individual plaintiff for lead

plaintiff alone pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act of 1934

(“Exchange Act”), 15 U.S.C. §78u-4(a)(3)(B), as amended by the Private Securities Litigation

Reform Act of 1995 (“PSLRA”); and (2) approving their selection of Squitieri & Fearon LLP (“SF”)

and Moore Kuehn PLLC (“MK”) as Co-Lead Counsel.

                           INTRODUCTION AND BACKGROUND

       On February 27, 2023, plaintiff Trey Greene filed a Class Action Complaint and Demand for

Jury Trial (ECF No. 1) (the “Action”). This action was filed as a “covered” class action under the

PSLRA. Greene published a notice as prescribed by the PSLRA advising class members of, inter

alia, the allegations and claims in the Complaint and advising class members of their option to seek

appointment as Lead Plaintiff. See Declaration of Lee Squitieri (“Squitieri Decl.”), Ex. A filed

herewith. According to the PSLRA, any motions for appointment of lead counsel and lead plaintiff

must be filed within 60 days of the date of publication of notice, i.e., May 1, 2023.

       NATURE OF THE ACTION AND FACTS COMMON TO ALL CLAIMS

       1.      The action is on behalf of all people in the United States who enrolled in a BlockFi

Interest Account/Crypto Interest Account, which is an unregistered security under state and federal

law. Since March 4, 2019, the individual defendants herein have been, at least in part, engaged in

the sale of unregistered securities in the form of cryptocurrency interest-earning accounts and the

making of materially false and misleading statements described in the complaint. The unregistered

securities include the “Wallet Accounts” as its “Crypto Interest Account” and/or the “BlockFi

Interest Account” (collectively, the “BIAs”).
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       2.      Defendants did not register the BIAs with the United States Securities and Exchange

Commission (“SEC”).

       3.      From March 4, 2019 to the present, the Defendants offered and sold BlockFi BIAs to

investors, through which investors lend crypto assets to BlockFi in exchange for BlockFi’s promise

to provide a variable monthly interest payment. BlockFi generated the interest paid out to BIA

investors by deploying its assets in various ways, including loans of crypto assets made to

institutional and corporate borrowers, lending U.S. dollars to retail investors, and by investing in

equities and futures. As of March 31, 2021, BlockFi and its affiliates held approximately $14.7

billion in BIA investor assets. As of December 8, 2021, BlockFi and its affiliates held approximately

$10.4 billion in BIA investor assets, and had approximately 572,160 BIA investors, including

391,105 investors in the United States. By February 2022, BlockFi’s domestic BIA accounts were

effectively shut down for transaction and by November 18, 2022 all BlockFi accounts were locked

down and Plaintiff and class members were locked out of their assets.

       4.      BlockFi allows investors to purchase the BIAs by depositing certain eligible

cryptocurrencies into accounts at BlockFi. BlockFi then pools these cryptocurrencies together to

fund its lending operations and proprietary trading. In exchange for investing in the BIAs, investors

are promised an attractive interest rate that is paid monthly in cryptocurrency. The BIAs are not

protected by Securities Investor Protection Corporation (the “SIPC”) or insured by the Federal

Deposit Insurance Corporation (the “FDIC”). The BIAs are subject to additional risk, compared to

assets held at SIPC member broker-dealers, or assets held at banks and savings associations, almost

all of which carry FDIC insurance. Nor are they registered with the SEC, the Commissioner, or any

other securities regulatory authority, or exempt from registration. Despite the additional risk, and

lack of safeguards and regulatory oversight, as of March 31, 2021, BlockFi held the equivalent of



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$14.7 billion from the sale of these unregistered securities in violation of federal and state securities

laws.

          5.       Based on the facts and circumstances set forth herein, the BIAs were securities

because they were notes under Reves v. Ernst & Young, 494 U.S. 56, 64–66 (1990) and its progeny,

and also because BlockFi offered and sold the BIAs as investment contracts, under SEC v. W.J.

Howey Co., 328 U.S. 293, 301 (1946) and its progeny, including the cases discussed by the SEC in

its Report of Investigation Pursuant To Section 21(a) Of The Securities Exchange Act of 1934: The

DAO.1          Defendants promised BIA investors that BlockFi could pay a variable interest rate,

determined by BlockFi on a periodic basis, in exchange for crypto assets loaned by the investors,

and that investors could demand that BlockFi return their loaned assets at any time. Investors in the

BIAs had a reasonable expectation of obtaining a future profit from BlockFi’s efforts in managing

the BIAs based on BlockFi’s statements about how it would generate the yield to pay BIA investors

interest. Investors also had a reasonable expectation that BlockFi would use the invested crypto

assets in BlockFi’s lending and principal investing activity, and that investor would share profits in

the form of interest payments resulting from BlockFi’s efforts. BlockFi offered and sold the BIAs to

the general public to obtain crypto assets for the general use of its business, namely, to run its lending

and investment activities to pay interest to BIA investors, and promoted the BIAs as an investment.

Defendants allowed BlockFi to offer and sell securities without a registration statement filed or in

effect with the Commission and without qualifying for an exemption from registration; as a result,

BlockFi violated Sections 5(a) and 5(c) of the Securities Act of 1933 and BlueSky laws of various

states.




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                                            ARGUMENT

I.     MOVANTS SHOULD BE APPOINTED LEAD PLAINTIFF

       The movant with the largest interest in the relief sought by the class is a group rather than an

individual person or entity, a court should consider whether “the way in which a group seeking to

become lead plaintiff was formed or the manner in which it is constituted would preclude it from

fulfilling the tasks assigned to a lead plaintiff.” Goines v. Celsius Network, LLC, 2023 U.S. Dist.

LEXIS 65873, at *15 (D.N.J. 2023) (citing In re Cendant Corp. Litig., 264 F.3d 201, 266-767 (3d.

Cir. 2001). The text of the PSLRA permits the appointment of a “person or group of persons” to be

the lead plaintiff. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). The group of persons does not need to be

“related” in some manner; but any such group must be able to “fairly and adequately protect the

interests of the class.” In re Cendant, 264 F.3d at 266-67.

       In determining whether the group will “fairly and adequately” represent the interests of the

class, the following factors are instructive: “(i) whether the [members of the group] had a pre-

existing relationship, (ii) the extent of that relationship, (iii) whether the group was created by the

efforts of lawyers for the purpose of obtaining lead plaintiff status, and (iv) whether the group is too

large to adequately represent the Class.” Chao Sun v. Han, 2015 U.S. Dist. LEXIS 64060, at *4

(D.N.J. 2015).

       The Group is represented by counsel with deep experience in securities litigation, and their

choice of counsel does not tend to indicate that they cannot fairly and adequately represent the

interests of the class. There are no known conflicts between Group members and the members of the

class, and, based on their significant financial losses. As to the Group’s size, the Third Circuit has

stated that, generally, “groups with more than five members are too large to work effectively.” In re

Cendant, 264 F.3d at 267. The Group comprises just three members.




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        The PSLRA directs courts to consider any motion to serve as lead plaintiff filed by class

members in response to a published notice of class action/n by the later of: (i) 90 days after the date

of publication of the notice; or (ii) as soon as practicable after the Court decides any pending motion

to consolidate. 15 U.S.C. § 78u-4(a)(3)(B). The PSLRA provides a “rebuttable presumption” that

the “most adequate plaintiff” to serve as lead plaintiff is the person or group that:

        (aa)    has either filed the complaint or made a motion in response to a notice;

        (bb)    in the determination of the Court, has the largest financial interest in the relief sought

by the class; and

        (cc)    otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil

Procedure.

15 U.S.C. § 78u-4(a)(3)(B)(ii).

        As set forth below, Movants satisfy all three of these criteria, and thus is entitled to the

presumption of being the “most adequate plaintiff for the Class.”

        A.      Movants Are Willing to Serve as Class Representative

        Movants have filed herewith a PSLRA certification attesting that Movant is willing to serve

as representative of the class and remains willing to provide testimony at deposition and trial, if

necessary. See Ex. B hereto. Accordingly, Movant satisfies the first requirement to serve as Lead

Plaintiff for the Class.

        B.      Movants Have the Largest Financial Interest in the Action

        The PSLRA requires a court to adopt a rebuttable presumption that “the most adequate

plaintiff. . .is the person or group of persons that... has the largest financial interest in the relief

sought by the class.” 15 U.S.C. § U.S.C. (3)(B)(iii). “While the PSLRA does not specify how we

should decide which plaintiff group has the 'largest financial interest' in the relief sought.




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       In this case, the financial relief sought is based on loses sustained by class members

purchases of BIA securities. At this early stage, each plaintiffs’ transaction volume provides an

estimate for purposes of determining the movant with the largest financial interest. The movant with

the largest financial interest who meets the requirements of typicality and adequacy under Rule 23

is presumptively the lead plaintiff.

         During the Class Period, movant Greene invested over $1,586,492.00 into BlockFi BIAs;

 re-invested over approximately $200,000.00 in earned credited interest; and re-invested over

 approximately $200,000.00 of capital gains. See Squitieri Decl., Exh. B.

         During the Class Period, movant Reyes invested over $460,000.00 into BlockFi BIAs; and

 as a result of the revelations of the fraud, suffered a loss of $492,000.00. See Squitieri Decl.,

 Exh. B.

         Movants believe that they have a greater financial interest in this action than any other

 Class member who has come forward and, to the best of their knowledge, are not aware of any

 other Class member claiming larger financial losses that have filed a complaint or a motion for

 appointment as lead plaintiff. Movants thus satisfy the second PSLRA requirement – the

 largest financial interest – to be appointed as co-lead plaintiff for the class.

       Movant is not aware of any other movant that has suffered greater losses from their

enrollment in defendants’ “accounts.” Accordingly, Movant satisfies the largest financial interest

requirement to be appointed as Lead Plaintiff for the class.

       C.      Movants Satisfy the Requirements of Rule 23 of the Federal Rules of Civil
               Procedure

       Section 21D(a)(3)(B)(iii)(l)(cc) of the PSLRA further provides that, in addition to possessing

the largest financial interest in the outcome of the litigation, the Lead Plaintiff must “otherwise




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satisf[y] the requirements of Rule 23 of the Federal Rules of Civil Procedure.” Rule 23(a) provides

that a party may serve as a class representative if the following four requirements are satisfied:

               (1) the class is so numerous that joinder of all members is
               impracticable, (2) there are questions of law or fact common to the
               class, (3) the claims or defenses of the representative parties are
               typical of the claims or defenses of the class, and (4) the representative
               parties will fairly and adequately protect the interests of the class.

       In making its determination that the Lead Plaintiff satisfies the requirements of Rule 23, the

Court need not raise its inquiry to the level required in ruling on a motion for class certification -a

prima facie showing that Movant will satisfy the requirements of Rule 23 is sufficient. Fuwei Films,

247 F.R.D. at 439 (only prima facie showing is required). Moreover, “typicality and adequacy of

representation are the only provisions relevant to a determination of lead plaintiff under the PSLRA.”

In re Oxford Health Plans, Inc. Sec. Litig., 182 F.R.D. 42, 49 (S.D.N.Y. 1998).

               1.      Movants’ Claims are Typical

       The Rule 23(a) typicality requirement is satisfied when a plaintiff's claims arise from the

same event, practice or course of conduct that gives rise to other class members’ claims and

plaintiff’s claims are based on the same legal theory. See In re Livent, Inc. Noteholders Sec. Litig.,

210 F.R.D. 512, 516 (S.D.N.Y. 2002). Rule 23 does not require the lead plaintiff to be identically

situated with all class members. Id.

       Here, Movants’ claims are typical of the claims asserted by the Class. Movants, like all

members of the Class, allege that Defendants were illegally selling unregistered securities. Movants’

interests are closely aligned with the other Class members’ and Movants’ interests are, therefore,

typical of the other members of the Class.

               2.      Movants Are Adequate
       The adequacy of representation of Rule 23 is satisfied where it is established that a

representative party has the ability to represent the claims of the class vigorously, has obtained

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adequate counsel, and there is no conflict between a potential representative's claim and those

asserted on behalf of the class. In re Cendant Corp. Litigation, 264 F.3d. 201, 265 (3d Cir. 2001).

       Here, Movant has communicated with competent, experienced counsel concerning this case,

and made this motion to be appointed as Lead Plaintiff. Movant is not aware that any conflict exists

between Plaintiff’s claims and those asserted on behalf of the Class. Movant also sustained

substantial financial losses from defendant’s “accounts” and is therefore, extremely motivated to

pursue claims in this action.

       D.      Movants Are Presumptively the Most Adequate Plaintiff

       The presumption in favor of appointing Movant as Lead Plaintiff may be rebutted only upon

proof “by a purported member of the Plaintiffs' class” that the presumptively most adequate plaintiff:

       (aa)    will not fairly and adequately protect the interests of the class; or

       (bb)    is subject to unique defenses that render such plaintiff incapable of adequately

representing the class.

15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

       The presumption that Movants are the most adequate Lead Plaintiff is not subject to rebuttal.

Movants have suffered financial losses and has the largest financial interest in this case of any timely

movant. See Ex. B hereto. The ability of Movants to represent the Class fairly and adequately is

discussed above. Movants are not aware of any unique defenses Defendants could raise against him

that would render Movant inadequate to represent the Class.

       E.      Alternatively Each Movant Has Certified And Moved To Be Appointed As Lead
               Plaintiff Individually

       The Court may consider each investor individually, as if such plaintiff had moved to be

appointed as lead plaintiff alone. Varghese v. China Shenghuo Pharm. Holdings, Inc., 589 F. Supp.

2d 388, 392 (S.D.N.Y. 2008). To do so, the Court must first determine which individual has the


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“largest financial interest in the relief sought by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(bb).

Here, each Movant has attested in their PSLRA certification that “I am willing to serve as a lead

plaintiff either individually or cooperate as part of a group of lead plaintiffs.” See Squitieri Decl. Ex

B.

II.    MOVANTS SELECTION OF COUNSEL SHOULD BE APPROVED

       The PSLRA vests authority in the Lead Plaintiff to select and retain Lead Counsel, subject

to the approval of the Court. 15 U.S.C. § 78u-4(a)(3)(B)(v). The Court should only interfere with

Lead Plaintiff’s selection when necessary “to protect the interests of the class.” 15 U.S.C. § 78u-

4(a)(3)(B)(ii)11) (aa).

       Movant has selected Squitieri & Fearon LLP and Moore Kuehn PLLC as Lead Counsel. The

firms have been actively researching Plaintiff’s and Class Plaintiffs’ claims, including reviewing

publicly available financial and other documents. Furthermore, Squitieri & Fearon LLP has an

extensive history of bringing significant recoveries to investors and is experienced in the area of

securities litigation and class actions, having been appointed as lead counsel in securities class

actions in this District and in other courts throughout the nation. See Ex. C and D hereto. Squitieri

& Fearon LLP and Moore Kuehn PLLC have prosecuted numerous class actions and other complex

litigation and obtained substantial recoveries on behalf of investors and consumers.

       As a result of the firms’ experience in litigation involving issues similar to those raised in

this action, Plaintiff’s counsel has the skill and knowledge to prosecute this action effectively and

expeditiously. Thus, the Court may be assured that by approving Plaintiff’s selection of Lead

Counsel, the members of the class will receive the best legal representation available.

                                           CONCLUSION

       For the foregoing reasons, Movant respectfully requests the Court issue an Order (1)

appointing Movants as Lead Plaintiff of the Class as a Group or individually; (2) approving

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Plaintiff’s selection of Squitieri & Fearon LLP and Moore Kuehn PLLC as Lead Counsel; and (3)

granting such other relief as the Court may deem to be just and proper.

Dated: April 30, 2023                        Respectfully submitted,

                                             SQUITIERI & FEARON, LLP



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